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Deb1or Name   Z   & J,   LLC d/b/a Appeal Tech                                        Case number   19-11502(JLG)



    17. Have you paid any bills you owed before you filed bankruptcy?                                                   0                0
    18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?                     D                D

              2. Summary of Cash Activity for All Accounts

    19. Total opening balance of all accounts
                                                                                                                             344,252.90
                                                                                                                            $ ____
        This amount must equal what you reported as the cash on hand at the end of the month in the previous
        month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

    20. Total cash receipts
         Attach a listing of all cash received for the month and label it Exhibit C. Include all
         cash received even if you have not deposited it at the bank, collections on
         receivables, credit card deposits, cash received from other parties, or loans, gifts, or
         payments made by other parties on your behalf. Do not attach bank statements in
         lieu of Exhibit C.
         Report the total from Exhibit C here.
                                                                                                        515,900.31
                                                                                                       $ ____

    21. Total cash disbursements
         Attach a listing of all payments you made in the month and label it Exhibit D. List the
         date paid, payee, purpose, and amount. Include all cash payments, debit card
         transactions, checks issued even if they have not cleared the bank, outstanding
         checks issued before the bankruptcy was filed that were allowed to clear this month,
         and payments made by other parties on your behalf. Do not attach bank statements
         in lieu of Exhibit D.                                                                            416,809.71
         Report the total from Exhibit D here.

    22. Net cash flow
         Subtract line 21 from line 20 and report the result here.                                                      +    99,090.60
                                                                                                                            $ ____

         This amount may be different from what you may have calculated as net profit.

    23. Cash on hand at the end of the month
         Add line 22 + line 19. Report the result here.
                                                                                                                        :$ 443,343.50
                                                                                                                           ___
         Report this figure as the cash on hand at the beginning of the month on your next operating report.
         This amount may not match your bank account balance because you may have outstanding checks that
         have not cleared the bank or deposits in transit.



   - 3. Unpaid Bills
         Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
         have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
         purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

    24. Total payables                                                                                                        37,057.40_
                                                                                                                            $ ____
                  (Exhibit E)




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Debtor Name   z & J, LLC d/b/a Appeal Tech                                               Case number   19-11502(JLG)



  - 4. Money Owed to You

        Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
        have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
        Identify who owes you money, how much is owed, and when payment is due. Report the total from
        Exhibit F here.
    25. Total receivables                                                                                                    1,499,630.44
                                                                                                                           $ _____
               (Exhibit F)



  - 5. Employees
                                                                                                                             29
    26. What was the number of employees when the case was filed?
                                                                                                                             28
    27. What is the number of employees as of the date of this monthly report?



  - 6. Professional Fees
    28. How much have you paid this month in professional fees related to this bankruptcy case?
                                                                                                                             17431.24
                                                                                                                            $ _____

    29. How much have you paid in professional fees related to this bankruptcy case since the case was filed?
                                                                                                                             54094.21
                                                                                                                            $_ ____

    30. How much have you paid this month in other professional fees?
                                                                                                                             0.00
                                                                                                                            $ _____

    31. How much have you paid in total other professional fees since filing the case?                                       71,525.45
                                                                                                                            $ _____




   - 7. Projections

         Compare your actual cash receipts and disbursements to what you projected in the previous month.
         Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                        Column A                      Column B                         Column C
                                        Projected                     Actual                    =      Difference

                                        Copy lines 35-37 from         Copy lines 20-22 of              Subtract Column B
                                        the previous month's          this report.                     from Column A.
                                        report.

    32. Cash receipts                   s 400,000                     $
                                                                          515,900.31            =
                                                                                                       s   (115,900.31)

    33 Cash disbursements               s 360,000                     s   416,809.71            =
                                                                                                       s (56,809.71)
                                                                                                =
    34. Net cash f low                  s 40,000                      s    99,090.60                   $   (59,090.60)


    35. Total projected cash receipts for the next month:                                                                    400,000
                                                                                                                            $_ ____

    36. Total projected cash disbursements for the next month:                                                             -s ____
                                                                                                                              360,000 _
    37. Total projected net cash flow for the next month:
                                                                                                                                  40,000




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                       Type            Date        Num             Name             Clr   Amount         Balance
                 Beginning Balance                                                                         274,004.20
                      Cleared Transactions
                        Checks and Payments - 96 items
                 Check              11/25/2020   489        Court of Appeals ...    X           -45.00         -45.00
                 Check              11/25/2020   490        Court of Appeals ...    X           -45.00         -90.00
                 Check              11/25/2020   488        Court of Appeals ...    X           -45.00        -135.00
                 Check              12/04/2020   496        Court of Appeals ...    X           -45.00        -180.00
                 Bill Pmt -Check    12/17/2020   449        Wilder 4 Corners ...    X        -1,450.00      -1,630.00
                 Check              12/22/2020   506        Nikolina Gurfinkel      X           -43.40      -1,673.40
                 Check              12/28/2020   507        Appellate Divisio...    X          -315.00      -1,988.40
                 Bill Pmt -Check    12/31/2020   534        Daniel Alter, Atto...   X        -8,440.00     -10,428.40
                 Bill Pmt -Check    12/31/2020   Visa...    CDW Direct              X        -3,305.61     -13,734.01
                 Bill Pmt -Check    12/31/2020   535        Fidelity Investme...    X          -940.00     -14,674.01
                 Bill Pmt -Check    12/31/2020   Visa ...   Atlantic Tomorro...     X          -630.49     -15,304.50
                 Bill Pmt -Check    12/31/2020   536        SolarWinds              X          -199.83     -15,504.33
                 Bill Pmt -Check    12/31/2020   AUT...     FedEx-New               X          -173.51     -15,677.84
                 General Journal    01/01/2021   Jan-21     Power Objects           X        -3,038.51     -18,716.35
                 Bill Pmt -Check    01/01/2021   AUT...     FedEx-New               X          -505.11     -19,221.46
                 General Journal    01/02/2021   Jan-21                             X            -9.95     -19,231.41
                 Bill Pmt -Check    01/04/2021   AUT...     Court Alert.Com, ...    X        -2,014.19     -21,245.60
                 Bill Pmt -Check    01/04/2021   AUT...     St. Paul Travelers      X        -1,576.03     -22,821.63
                 General Journal    01/04/2021   1/4/21     Purchase Power          X          -500.00     -23,321.63
                 Bill Pmt -Check    01/04/2021   513        Nina Kracum             X          -400.00     -23,721.63
                 Bill Pmt -Check    01/04/2021   AUT...     StorageMart#2105        X          -354.03     -24,075.66
                 Check              01/04/2021   510        Appellate Divisio...    X          -315.00     -24,390.66
                 Bill Pmt -Check    01/04/2021   AUT...     StorageMart#2105        X          -272.19     -24,662.85
                 General Journal    01/04/2021   GO ...                             X          -199.99     -24,862.84
                 General Journal    01/04/2021   Jan-21                             X           -76.16     -24,939.00
                 General Journal    01/04/2021   Jan 4...   Purchase Power          X           -50.00     -24,989.00
                 Check              01/04/2021   511        Court of Appeals ...    X           -45.00     -25,034.00
                 Bill Pmt -Check    01/05/2021   AUT...     FedEx-New               X          -596.87     -25,630.87
                 General Journal    01/06/2021   Jan-21                             X        -2,522.66     -28,153.53
                 General Journal    01/06/2021   Jan-21                             X        -1,933.98     -30,087.51
                 Bill Pmt -Check    01/06/2021   AUT...     FedEx-New               X          -425.36     -30,512.87
                 Check              01/06/2021   514        Appellate Divisio...    X          -315.00     -30,827.87
                 Check              01/06/2021   516        Appellate Divisio...    X          -315.00     -31,142.87
                 General Journal    01/06/2021   Jan-21                             X          -131.69     -31,274.56
                 Check              01/06/2021   515        Appellate Divisio...    X           -45.00     -31,319.56
                 General Journal    01/07/2021   SAL...                             X       -52,230.49     -83,550.05
                 General Journal    01/07/2021   PAY...                             X       -46,082.97    -129,633.02
                 Bill Pmt -Check    01/07/2021   539        Empire Managem...       X       -27,894.88    -157,527.90
                 Bill Pmt -Check    01/07/2021   537        Light and Rubin Inc     X        -3,300.00    -160,827.90
                 General Journal    01/07/2021   Jan 7...   Purchase Power          X          -500.00    -161,327.90
                 Bill Pmt -Check    01/07/2021   AUT...     FedEx-New               X          -205.78    -161,533.68
                 General Journal    01/07/2021   WIR...                             X           -30.00    -161,563.68
                 Transfer           01/08/2021                                      X        -8,256.15    -169,819.83
                 Bill Pmt -Check    01/08/2021   2000...    ULINE, Inc.             X          -543.35    -170,363.18
                 Bill Pmt -Check    01/08/2021   Visa...    Waste Connections       X          -217.75    -170,580.93
                 Bill Pmt -Check    01/08/2021   AUT...     Verizon-Bar Pres...     X           -39.63    -170,620.56
                 General Journal    01/11/2021   APP...                             X        -2,077.34    -172,697.90
                 Bill Pmt -Check    01/11/2021   #310...    Broadview Netwo...      X          -912.13    -173,610.03
                 General Journal    01/11/2021   Jan 1...   Purchase Power          X          -500.00    -174,110.03
                 Bill Pmt -Check    01/11/2021   PH00...    Charlotte Colocat...    X          -495.00    -174,605.03
                 Check              01/11/2021   517        Appellate Divisio...    X          -315.00    -174,920.03
                 Bill Pmt -Check    01/11/2021   #380...    Pitney Bowes Glo...     X          -281.55    -175,201.58
                 Bill Pmt -Check    01/12/2021   #310...    Windstream              X        -1,713.71    -176,915.29
                 Bill Pmt -Check    01/12/2021   AUT...     FedEx-New               X          -554.34    -177,469.63
                 Bill Pmt -Check    01/12/2021   AUT...     FedEx-New               X           -77.49    -177,547.12
                 General Journal    01/13/2021   STO...     Kaufman Friedm...       X          -878.68    -178,425.80
                 Check              01/13/2021   518        Appellate Divisio...    X          -315.00    -178,740.80
                 Bill Pmt -Check    01/13/2021   AUT...     FedEx-New               X          -149.81    -178,890.61
                 Bill Pmt -Check    01/13/2021   AUT...     FedEx-New               X          -135.57    -179,026.18
                 General Journal    01/13/2021   STIN...                            X          -100.00    -179,126.18
                 General Journal    01/13/2021   STO...     Kaufman Friedm...       X           -15.00    -179,141.18
                 Check              01/14/2021   550        James Dignon            X        -1,377.47    -180,518.65
                 General Journal    01/14/2021   Jan 1...   Purchase Power          X          -500.00    -181,018.65
                 Bill Pmt -Check    01/14/2021   #051...    Signius Communi...      X          -358.79    -181,377.44
                 Check              01/14/2021   519        Appellate Divisio...    X          -315.00    -181,692.44

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                       Type            Date        Num             Name             Clr   Amount         Balance
                 General Journal    01/15/2021    Feb-22                            X          -418.00    -182,110.44
                 Bill Pmt -Check    01/15/2021    AUT...    FedEx-New               X          -228.89    -182,339.33
                 Bill Pmt -Check    01/15/2021    AUT...    FedEx-New               X          -214.17    -182,553.50
                 General Journal    01/15/2021    Jan-21                            X           -64.24    -182,617.74
                 General Journal    01/15/2021    Dec-20                            X            -2.26    -182,620.00
                 Bill Pmt -Check    01/18/2021    AUT...    FedEx-New               X          -499.36    -183,119.36
                 Bill Pmt -Check    01/19/2021    #004...   Pacer Service Ce...     X        -1,350.20    -184,469.56
                 Bill Pmt -Check    01/19/2021    #004...   Pacer Service Ce...     X        -1,200.60    -185,670.16
                 Bill Pmt -Check    01/19/2021    #010...   Atlantic Tomorro...     X          -903.43    -186,573.59
                 Check              01/19/2021    521       Appellate Divisio...    X           -45.00    -186,618.59
                 Check              01/19/2021    520       Appellate Divisio...    X           -45.00    -186,663.59
                 General Journal    01/20/2021    SAL...                            X       -86,438.51    -273,102.10
                 General Journal    01/20/2021    PAY...                            X       -66,702.01    -339,804.11
                 Sales Tax Pay...   01/20/2021    e-pay     New York State S...     X       -26,280.00    -366,084.11
                 Transfer           01/20/2021                                      X        -8,371.21    -374,455.32
                 General Journal    01/20/2021    WIR...                            X           -30.00    -374,485.32
                 Bill Pmt -Check    01/20/2021    AUT...    FedEx-New               X           -25.62    -374,510.94
                 Bill Pmt -Check    01/21/2021    T/O ...   Hartford Fire Insu...   X          -755.11    -375,266.05
                 General Journal    01/21/2021    Jan-21    Microsoft Azure         X          -565.51    -375,831.56
                 Bill Pmt -Check    01/21/2021    AUT...    FedEx-New               X          -194.91    -376,026.47
                 Bill Pmt -Check    01/21/2021    De-a...   Verizon-Bar Pres...     X           -39.16    -376,065.63
                 Bill Pmt -Check    01/22/2021    AUT...    FedEx-New               X           -77.45    -376,143.08
                 Bill Pmt -Check    01/22/2021              AT & T                  X           -29.99    -376,173.07
                 General Journal    01/25/2021    CAPI...                           X        -2,196.60    -378,369.67
                 Bill Pmt -Check    01/25/2021    AUT...    FedEx-New               X          -895.85    -379,265.52
                 General Journal    01/25/2021    Jan2...   Purchase Power          X          -500.00    -379,765.52
                 Bill Pmt -Check    01/25/2021    AUT...    Frontier Commun...      X           -93.73    -379,859.25
                 General Journal    01/25/2021    COU...                            X           -70.00    -379,929.25
                 General Journal    01/26/2021    TRA...                            X      -267,779.71    -647,708.96
                 General Journal    01/27/2021    TRA...                            X      -111,105.17    -758,814.13
                 General Journal    01/29/2021    TRA...                            X       -34,683.59    -793,497.72

                      Total Checks and Payments                                            -793,497.72    -793,497.72

                     Deposits and Credits - 60 items
                 Deposit         12/31/2020                                         X        3,071.57        3,071.57
                 Deposit         01/04/2021                                         X           45.00        3,116.57
                 Deposit         01/04/2021                                         X          315.00        3,431.57
                 Deposit         01/04/2021                                         X        5,178.75        8,610.32
                 Deposit         01/05/2021                                         X           45.00        8,655.32
                 Deposit         01/05/2021                                         X        1,800.00       10,455.32
                 Deposit         01/05/2021                                         X        7,812.48       18,267.80
                 Deposit         01/05/2021                                         X        9,197.35       27,465.15
                 Deposit         01/05/2021                                         X       30,036.56       57,501.71
                 Deposit         01/06/2021                                         X           45.00       57,546.71
                 Deposit         01/06/2021                                         X          315.00       57,861.71
                 Deposit         01/06/2021                                         X          315.00       58,176.71
                 Deposit         01/06/2021                                         X        1,598.40       59,775.11
                 Deposit         01/07/2021                                         X        1,050.00       60,825.11
                 Deposit         01/07/2021                                         X        1,596.64       62,421.75
                 Deposit         01/08/2021                                         X          700.00       63,121.75
                 Deposit         01/08/2021                                         X        4,257.02       67,378.77
                 Deposit         01/08/2021                                         X        8,150.00       75,528.77
                 Deposit         01/08/2021                                         X       35,009.78      110,538.55
                 Deposit         01/11/2021                                         X          315.00      110,853.55
                 Deposit         01/11/2021                                         X        2,614.57      113,468.12
                 Deposit         01/11/2021                                         X       11,009.82      124,477.94
                 Deposit         01/12/2021                                         X        8,573.43      133,051.37
                 Deposit         01/13/2021                                         X          315.00      133,366.37
                 Deposit         01/13/2021                                         X          825.98      134,192.35
                 Deposit         01/13/2021                                         X          880.71      135,073.06
                 Deposit         01/13/2021                                         X        3,003.32      138,076.38
                 Deposit         01/13/2021                                         X        3,744.40      141,820.78
                 Deposit         01/13/2021                                         X       29,368.80      171,189.58
                 Deposit         01/14/2021                                         X          315.00      171,504.58
                 Deposit         01/14/2021                                         X        7,223.23      178,727.81
                 Deposit         01/15/2021                                         X          654.04      179,381.85
                 Deposit         01/15/2021                                         X        1,094.82      180,476.67
                 Deposit         01/15/2021                                         X        2,720.24      183,196.91
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                       Type            Date           Num            Name             Clr   Amount         Balance
                 Check             01/19/2021        541      John J. Mitchell        X            0.00      183,196.91
                 Deposit           01/19/2021                                         X           45.00      183,241.91
                 Deposit           01/19/2021                                         X           45.00      183,286.91
                 Deposit           01/19/2021                                         X        7,364.78      190,651.69
                 Deposit           01/19/2021                                         X       10,587.19      201,238.88
                 Bill Pmt -Check   01/20/2021        542      Light and Rubin Inc     X            0.00      201,238.88
                 Deposit           01/20/2021                                         X          315.00      201,553.88
                 Deposit           01/20/2021                                         X          315.00      201,868.88
                 Deposit           01/20/2021                                         X        4,954.53      206,823.41
                 Deposit           01/20/2021                                         X       83,924.28      290,747.69
                 Deposit           01/21/2021                                         X           45.00      290,792.69
                 Deposit           01/21/2021                                         X       76,633.46      367,426.15
                 Bill Pmt -Check   01/25/2021        CRE...   Empire Managem...       X            0.00      367,426.15
                 Bill Pmt -Check   01/25/2021        REV...   Orleans County C...     X            0.00      367,426.15
                 Deposit           01/25/2021                                         X        3,981.57      371,407.72
                 Deposit           01/25/2021                                         X        9,003.65      380,411.37
                 Bill Pmt -Check   01/26/2021        562      Daniel Alter, Atto...   X            0.00      380,411.37
                 Deposit           01/26/2021                                         X          413.95      380,825.32
                 Deposit           01/26/2021                                         X        1,000.00      381,825.32
                 Deposit           01/26/2021                                         X        4,005.97      385,831.29
                 Deposit           01/26/2021                                         X       17,651.09      403,482.38
                 Deposit           01/26/2021                                         X       98,878.66      502,361.04
                 Deposit           01/27/2021                                         X       11,220.49      513,581.53
                 Deposit           01/28/2021                                         X        5,911.99      519,493.52
                 Bill Pmt -Check   01/29/2021                 Daniel Alter, Atto...   X            0.00      519,493.52
                 Bill Pmt -Check   01/29/2021                 Ferber Chan Ess...      X            0.00      519,493.52

                      Total Deposits and Credits                                             519,493.52      519,493.52

                    Total Cleared Transactions                                               -274,004.20    -274,004.20

                 Cleared Balance                                                             -274,004.20             0.00

                    Uncleared Transactions
                      Checks and Payments - 14 items
                 Check            01/16/2020   113            Appellate Divisio...               -315.00        -315.00
                 Check            01/16/2020   112            Appellate Divisio...               -315.00        -630.00
                 Check            02/21/2020   165            Appellate Divisio...               -315.00        -945.00
                 Check            03/06/2020   189            Nikolina Gurfinkel                 -127.00      -1,072.00
                 Check            03/13/2020   206            Appellate Divisio...               -315.00      -1,387.00
                 Check            05/07/2020   243            Appellate Divisio...                -25.50      -1,412.50
                 Check            08/11/2020   326            Kings County Court                  -30.00      -1,442.50
                 Check            09/03/2020   370            Appellate Divisio...               -315.00      -1,757.50
                 Check            09/30/2020   396            Appellate Divisio...               -315.00      -2,072.50
                 Check            09/30/2020   397            County Clerk, Ne...                 -25.00      -2,097.50
                 Check            10/06/2020   406            New York County...                  -25.00      -2,122.50
                 Check            10/28/2020   457            New York County...                  -25.00      -2,147.50
                 Check            10/29/2020   460            New York County...                  -25.00      -2,172.50
                 Check            11/05/2020   470            New York County...                  -25.00      -2,197.50

                      Total Checks and Payments                                                -2,197.50      -2,197.50

                     Deposits and Credits - 3 items
                 Deposit         01/29/2021                                                      630.00          630.00
                 Deposit         01/29/2021                                                    1,953.36        2,583.36
                 Deposit         01/31/2021                                                        0.00        2,583.36

                      Total Deposits and Credits                                                2,583.36       2,583.36

                    Total Uncleared Transactions                                                 385.86         385.86

                 Register Balance as of 01/31/2021                                           -273,618.34        385.86

                    New Transactions
                     Checks and Payments - 1 item
                 General Journal 02/18/2021    WIR...                                             -30.00         -30.00

                      Total Checks and Payments                                                   -30.00         -30.00



                                                                                                                            Page 3
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02/25/21                                           Reconciliation Detail
                                         1043B · TD Bank -2, Period Ending 01/31/2021

                      Type             Date        Num     Name       Clr     Amount         Balance
                     Deposits and Credits - 11 items
                 Deposit         02/02/2021                                         45.00           45.00
                 Deposit         02/02/2021                                        810.20          855.20
                 Deposit         02/02/2021                                      7,594.50        8,449.70
                 Deposit         02/03/2021                                        444.96        8,894.66
                 Deposit         02/03/2021                                     15,257.86       24,152.52
                 Deposit         02/03/2021                                     16,914.03       41,066.55
                 Deposit         02/05/2021                                      8,126.17       49,192.72
                 Deposit         02/12/2021                                      4,115.84       53,308.56
                 Deposit         02/16/2021                                      1,144.44       54,453.00
                 Deposit         02/19/2021                                        977.70       55,430.70
                 Deposit         02/25/2021                                        848.63       56,279.33

                      Total Deposits and Credits                                56,279.33       56,279.33

                    Total New Transactions                                      56,249.33       56,249.33

                 Ending Balance                                                -217,369.01      56,635.19




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02/18/21                                             Reconciliation Detail
                                         1043C · TD Bank 3, Period Ending 01/31/2021

                       Type            Date          Num           Name             Clr   Amount         Balance
                 Beginning Balance                                                                                 0.00
                      Cleared Transactions
                        Checks and Payments - 6 items
                 Check              01/20/2021    526       Appellate Divisio...    X          -315.00        -315.00
                 Check              01/20/2021    524       Appellate Divisio...    X          -315.00        -630.00
                 Bill Pmt -Check    01/25/2021    #002...   RG&E                    X           -67.01        -697.01
                 Bill Pmt -Check    01/27/2021    AUT...    FedEx-New               X          -278.21        -975.22
                 Bill Pmt -Check    01/27/2021    AUT...    FedEx-New               X          -268.35      -1,243.57
                 General Journal    01/28/2021    AMA...                            X           -60.96      -1,304.53

                      Total Checks and Payments                                              -1,304.53      -1,304.53

                     Deposits and Credits - 3 items
                 General Journal 01/26/2021      TRA...                             X      267,779.71      267,779.71
                 General Journal 01/27/2021      TRA...                             X      111,105.17      378,884.88
                 General Journal 01/29/2021      TRA...                             X       34,683.59      413,568.47

                      Total Deposits and Credits                                           413,568.47      413,568.47

                    Total Cleared Transactions                                             412,263.94      412,263.94

                 Cleared Balance                                                           412,263.94      412,263.94

                      Uncleared Transactions
                       Checks and Payments - 36 items
                 Check              11/27/2020  441         New York State                   -3,000.00      -3,000.00
                 Check              12/18/2020  531         New York State                   -3,000.00      -6,000.00
                 Check              01/04/2021  512         Court of Appeals ...                -45.00      -6,045.00
                 Bill Pmt -Check    01/10/2021  540         Wilder 4 Corners ...             -1,450.00      -7,495.00
                 Check              01/19/2021  522         Queens County C...                  -25.50      -7,520.50
                 Check              01/20/2021  523         Kings County Court                  -30.00      -7,550.50
                 Bill Pmt -Check    01/21/2021  #352...     Thomson West                       -742.48      -8,292.98
                 Check              01/21/2021  527         Court of Appeals ...                -45.00      -8,337.98
                 Bill Pmt -Check    01/25/2021              Verizon Wireless                   -501.22      -8,839.20
                 Bill Pmt -Check    01/25/2021  E PAY       Verizon Wireless                   -441.27      -9,280.47
                 Bill Pmt -Check    01/26/2021  549         Power Objects                    -7,631.25     -16,911.72
                 Check              01/26/2021  543         Chase                            -6,000.00     -22,911.72
                 Check              01/26/2021  561         New York State                   -3,000.00     -25,911.72
                 Bill Pmt -Check    01/26/2021  560         StorageMart#2105                   -354.03     -26,265.75
                 Bill Pmt -Check    01/26/2021  544         Alexander, Poole ...               -287.70     -26,553.45
                 Bill Pmt -Check    01/26/2021  546         Niagara County C...                 -24.70     -26,578.15
                 Bill Pmt -Check    01/26/2021  548         OSWEGO Count...                     -17.00     -26,595.15
                 Bill Pmt -Check    01/26/2021  545         Monroe County D...                   -5.85     -26,601.00
                 Bill Pmt -Check    01/26/2021  547         Onondaga Count...                    -1.95     -26,602.95
                 Bill Pmt -Check    01/28/2021  #311...     Windstream                       -1,318.14     -27,921.09
                 Bill Pmt -Check    01/28/2021  #311...     Windstream                       -1,053.10     -28,974.19
                 Bill Pmt -Check    01/28/2021  #311...     Broadview Netwo...                 -916.02     -29,890.21
                 Bill Pmt -Check    01/29/2021  528         Daniel Alter, Atto...           -17,240.00     -47,130.21
                 General Journal    01/29/2021  #26R...     U.S. Trustee                     -6,873.77     -54,003.98
                 Bill Pmt -Check    01/29/2021  #04105      Atlantic Tomorro...                -802.53     -54,806.51
                 General Journal    01/29/2021  Jan 2...    Purchase Power                     -500.00     -55,306.51
                 Bill Pmt -Check    01/29/2021  #031...     Columbia Omni C...                 -412.39     -55,718.90
                 Check              01/29/2021  563         John J. Mitchell                   -397.65     -56,116.55
                 Check              01/29/2021  551         Appellate Divisio...               -315.00     -56,431.55
                 Check              01/29/2021  529         Appellate Divisio...               -315.00     -56,746.55
                 Bill Pmt -Check    01/29/2021  AUT...      FedEx-New                          -104.49     -56,851.04
                 Check              01/29/2021  552         Barry Baron                         -36.81     -56,887.85
                 General Journal    01/30/2021  Jan-21                                         -201.42     -57,089.27
                 General Journal    01/31/2021  WIR...                                     -175,000.00    -232,089.27
                 Bill Pmt -Check    01/31/2021  570         Light and Rubin Inc              -3,520.00    -235,609.27
                 General Journal    01/31/2021  WIR...                                          -30.00    -235,639.27

                      Total Checks and Payments                                            -235,639.27    -235,639.27

                    Total Uncleared Transactions                                           -235,639.27    -235,639.27

                 Register Balance as of 01/31/2021                                         176,624.67      176,624.67




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                      Type             Date        Num           Name             Clr   Amount         Balance
                      New Transactions
                       Checks and Payments - 34 items
                 Bill Pmt -Check   02/01/2021   568       Empire Managem...               -26,896.65     -26,896.65
                 Check              02/01/2021  556       Chase                            -6,000.00     -32,896.65
                 Bill Pmt -Check   02/01/2021   564       Light and Rubin Inc              -3,450.00     -36,346.65
                 General Journal   02/01/2021   Feb-21    Power Objects                    -3,038.51     -39,385.16
                 Check              02/01/2021  567       New York State                   -3,000.00     -42,385.16
                 Bill Pmt -Check   02/01/2021   #31917    Court Alert.Com, ...             -2,014.19     -44,399.35
                 Bill Pmt -Check   02/01/2021             St. Paul Travelers               -1,576.03     -45,975.38
                 Bill Pmt -Check   02/01/2021   569       Wilder 4 Corners ...             -1,450.00     -47,425.38
                 Bill Pmt -Check   02/01/2021   565       Luu LLC                            -960.00     -48,385.38
                 Bill Pmt -Check   02/01/2021   PL00...   Charlotte Colocat...               -495.00     -48,880.38
                 Bill Pmt -Check   02/02/2021   1757...   Daniel Alter, Atto...           -17,728.24     -66,608.62
                 Bill Pmt -Check   02/02/2021             Court Alert.Com, ...             -2,014.19     -68,622.81
                 Check              02/02/2021  1757...   Court of Appeals ...                -45.00     -68,667.81
                 Check              02/02/2021  1757...   Radel Carvajal                      -32.64     -68,700.45
                 General Journal   02/02/2021   Feb-21                                         -9.95     -68,710.40
                 Sales Tax Pay...  02/03/2021   e-pay     New York State S...             -23,637.84     -92,348.24
                 Transfer           02/03/2021                                            -10,777.89    -103,126.13
                 Bill Pmt -Check   02/03/2021   6353...   St. Paul Travelers               -9,420.24    -112,546.37
                 General Journal   02/03/2021   Feb-21                                     -4,500.00    -117,046.37
                 Bill Pmt -Check   02/03/2021   Q371...   Hartford Fire Insu...            -3,012.44    -120,058.81
                 Bill Pmt -Check   02/03/2021   1757...   Light and Rubin Inc              -1,600.00    -121,658.81
                 Check              02/03/2021  1757...   James Dignon                       -578.52    -122,237.33
                 Bill Pmt -Check   02/03/2021   1757...   Nina Kracum                        -400.00    -122,637.33
                 Bill Pmt -Check   02/03/2021             Frontier Commun...                  -93.73    -122,731.06
                 General Journal   02/03/2021   Feb-21                                        -76.16    -122,807.22
                 Bill Pmt -Check   02/04/2021   #120...   Thomson West                       -982.01    -123,789.23
                 Bill Pmt -Check   02/04/2021   Visa      Waste Connections                  -108.88    -123,898.11
                 Sales Tax Pay...  02/05/2021   e-pay     New York State S...              -4,294.87    -128,192.98
                 Bill Pmt -Check   02/09/2021   #53926    Signius Communi...                 -156.73    -128,349.71
                 Bill Pmt -Check   02/11/2021   #921...   CSC                                -498.00    -128,847.71
                 Bill Pmt -Check   02/11/2021   1757...   ADCO Security &...                 -206.86    -129,054.57
                 General Journal   02/18/2021   SAL...                                    -22,467.78    -151,522.35
                 General Journal   02/18/2021   PAY...                                    -12,748.64    -164,270.99
                 Transfer           02/19/2021                                             -3,879.86    -168,150.85

                      Total Checks and Payments                                          -168,150.85    -168,150.85

                     Deposits and Credits - 4 items
                 Deposit         02/01/2021                                                2,208.95        2,208.95
                 Deposit         02/03/2021                                                  444.96        2,653.91
                 Deposit         02/03/2021                                               15,257.86       17,911.77
                 General Journal 02/16/2021      OPE...                                  198,500.00      216,411.77

                      Total Deposits and Credits                                         216,411.77      216,411.77

                    Total New Transactions                                                48,260.92       48,260.92

                 Ending Balance                                                          224,885.59      224,885.59




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                          Profit & Loss
               For the Month Ended Janaury 31 2021


                                                    Janaury 2021

               Salaries                            $      81,725.06
               Employee Benefit                    $          76.81
               Paper
               Supplies
               Repairs & Maintenance
               Equipment Rental
               Machine Charges                     $       1,452.53
               Mailers & Cartons
               Purchase for Resale
               Shipping                            $       5,437.63
               Postage                             $       1,525.00
               Occupancy Expense                   $      19,621.54
               Insurance                           $       4,965.21
               Website/Software costs              $         666.37
               Computer Consulting/Supplies        $         230.96
               Telephone                           $       5,083.73
               Utilities                           $          67.01


               Total Cost of Goods Sold            $     120,851.85
